    Case 1:20-cv-03010-APM          Document 1089-3       Filed 12/11/24     Page 1 of 1




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA, et al.,
                              Plaintiffs,
                                                Case No. 1:20-cv-03010-APM
        v.
                                                HON. AMIT P. MEHTA
 GOOGLE LLC,
                              Defendant.


                                    PROPOSED ORDER

       At the District of Columbia this ___ day of December, 2024, having considered the

Motion of Nonparty OpenAI, Inc. seeking the admission pro hac vice of Serge A. Voronov (ECF

No. ___), and the Declaration of Serge A. Voronov submitted in support of the Motion;

       IT IS HEREBY ORDERED that the Motion is GRANTED.



                                                Hon. Amit P. Mehta
                                                UNITED STATES DISTRICT JUDGE
